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                        UNITED STATES BANKRUPTCY COURT FOR THE
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION

                                                 CASE NO.: 16-40246-KKS
                                                 CHAPTER 7 CASE
IN RE:

JULIUS WILLIAMS, II
WENOKA TENEA SIMMONS-WILLIAMS
Debtor(s).
                           /


 ORDER GRANTING U.S. BANK NATIONAL ASSOCIATION’S AMENDED MOTION FOR
                       RELIEF FROM STAY (DOC#160)


         This case is before the Court upon the Amended Motion for Relief from Stay (Doc 160) filed by

Creditor U.S. Bank National Association, (“Movant”). No party filed an objection within the prescribed

time period; so the Court considers the matter unopposed. It is

         It is ORDERED:

1. The Motion for Relief from Stay is GRANTED.

2. The Automatic Stay imposed by 11 U.S.C. §362 is terminated as to Movant’s interest in the following

   property:

            LOT 84, HAMMOCKS PHASE 1, A SUBDIVISION AS PER MAP OR
            PLAT THEROF RECORDED IN PLAT BOOK 4, PAGE 44 OF THE
            PUBLIC RECORDS OF WAKULLA COUNTY, FLORIDA.

            A/K/A: 29 HEMLOCK WAY, CRAWFORDVILLE, FLORIDA 32327


3. The Order granting Relief from the automatic stay be and is hereby entered for the sole purpose of

   allowing Movant to obtain an in rem judgment against the property and any other remedies the Movant

   may have under applicable non-bankruptcy law, provided that the Movant shall not seek or obtain an

   in personam judgment against the debtor.
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4. If the Debtor(s) convert this case to another chapter this relief awarded will survive any conversion

   made by the Debtor(s) and Debtor(s) will not be allowed to include the creditor in the Chapter 13 plan.

5. That the fourteen (14) day stay of the Order Granting Relief pursuant to Bankruptcy Rule 4001 (a)(3)

   is waived so that Secured Creditor can pursue its in rem remedies without further delay.



                                      February 21, 2019.
               DONE AND ORDERED on ________________________________________



                                                  _____________________________________
                                                  Karen K. Specie
                                                  United States Bankruptcy Judge



PREPARED BY: CHOICE LEGAL GROUP, P.A.
ATTN: RESHAUNDRA M. SUGGS
P.O. BOX 9908
FORT LAUDERDALE, FLORIDA 33310-0908

ReShaundra M. Suggs, Esq., is directed to serve a copy of this order on interested parties and file a proof
of service within 3 days of entry of the order
